            Case 3:25-cv-04870-CRB             Document 99     Filed 06/25/25   Page 1 of 11




 1   BRETT A. SHUMATE
     Assistant Attorney General
 2   ERIC J. HAMILTON (CA Bar No. 296283)
     Deputy Assistant Attorney General
 3   ALEXANDER K. HAAS (CA Bar No. 220932)
 4   Branch Director
     JEAN LIN (NY Bar No. 4074530)
 5   Special Litigation Counsel
     CHRISTOPHER EDELMAN (DC Bar No. 1033486)
 6   Senior Counsel
     GARRY D. HARTLIEB (IL Bar No. 6322571)
 7   BENJAMIN S. KURLAND (DC Bar No. 1617521
     Trial Attorneys
 8   U.S. Department of Justice
     Civil Division, Federal Programs Branch
 9   1100 L Street, NW
     Washington, DC 20005
10   Telephone: (202) 305-0568
     garry.hartlieb2@usdoj.gov
11   Attorneys for Defendants
12                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
13                                  SAN FRANCISCO DIVISION
14                                                        Case No. 3:25-cv-04870-CRB
15   GAVIN NEWSOM, in his official capacity as
     Governor of the State of California, et al.,
16                                                        DEFENDANTS’ RESPONSE TO ORDER
                                Plaintiffs,               DIRECTING FILING
17
                      v.
18
     DONALD J. TRUMP, in his official capacity as
19   President of the United States of America, et al.,
20                      Defendants.
21
22
23
24
25
26
27
28


     Defendants’ Response to Order Directing Filing
     3:25-cv-04870-CRB
            Case 3:25-cv-04870-CRB             Document 99      Filed 06/25/25       Page 2 of 11




 1                                             INTRODUCTION
 2           The Court should deny Plaintiffs’ procedurally improper and substantively unjustified
 3   request for expedited discovery. Plaintiffs have lost this case, full stop, and this Court should read
 4   the writing on the wall and refuse to entertain the unbelievably broad and unnecessary requested
 5   discovery, including the request to depose two national security officials during defense
 6   operations. Their requests should also be denied because they are untimely and fail to demonstrate
 7   good cause under the applicable multi-factor standard for reasonableness. Nor have Plaintiffs
 8   shown that discovery should be expedited instead of proceeding in the normal course. If, however,
 9   the Court concludes Plaintiffs have carried their burden to establish a need for discovery, the Court
10   should transfer the case instead of ordering that discovery. Plaintiffs engaged in forum shopping
11   in making San Francisco the venue for their lawsuit about Los Angeles. If discovery is needed,
12   the case should proceed in the Central District of California, where the witnesses work and relevant
13   facts occurred.
14                                             BACKGROUND
15           On June 12, 2025, this Court entered a temporary restraining order and set an expedited
16   schedule for a motion for a preliminary injunction. TRO Op. at 36. Defendants appealed the
17   Court’s order that night and on the next day moved to defer preliminary injunction proceedings
18   until after the Ninth Circuit ruled on Defendants’ motion to stay. ECF No. 72. Plaintiffs opposed.
19   ECF No. 73. They argued that the June 16 deadline for their motion would allow them to submit
20   “[a] more complete record” that would “help inform the Court as to the merits of Plaintiffs’
21   arguments on all their claims and how to craft any preliminary injunctive relief.” Id. at 2 (emphasis
22   added). This Court agreed, concluding “[d]elay would be counterproductive.” ECF No. 74.
23   Plaintiffs then moved for a preliminary injunction. ECF No. 77.
24           Following the Ninth Circuit’s stay of the Court’s order, Plaintiffs filed a reply brief in
25   support of their motion for a preliminary injunction that challenged for the first time the geographic
26   and temporal scope of Defendants’ memorandums. ECF No. 87, at 7–8. Plaintiffs cited no law
27   for this argument other than a decision of the U.S. Supreme Court reversing a defamation
28   conviction on First Amendment grounds. Id. at 8 (quoting Garrison v. Louisiana, 379 U.S. 64, 75


     Defendants’ Response to Order Directing Filing
     3:25-cv-04870-CRB
                                                       1
            Case 3:25-cv-04870-CRB             Document 99      Filed 06/25/25      Page 3 of 11




 1   (1964)). At last week’s hearing, Plaintiffs stated that they “want the Court to address the duration
 2   of the [President’s and Secretary of Defense’s] order[s] and the parameters for when the order[s]
 3   should conclude.” Tr. 8:25–9:2. But Plaintiffs made no mention of any need for discovery on that
 4   issue, instead saving that request for their supplemental brief. In that brief, they asked the Court
 5   to authorize expedited written discovery, identifying requests for production, requests for
 6   admission, and interrogatories as possibilities. ECF No. 94 at 7. They also requested depositions
 7   of the Deputy Commanding General for the United States Army North Command and the Director
 8   of the Los Angeles Field Office for the Department of Homeland Security (DHS) Immigration and
 9   Customs Enforcement (ICE) Enforcement and Removal Operations (ERO). Id. at 9. Defendants
10   promptly objected to Plaintiffs’ request, and the Court ordered Defendants to submit a response.
11   ECF Nos. 97, 98.
12                                               ARGUMENT
13           For multiple reasons, discovery is plainly unwarranted,1 and even if some limited discovery
14   were appropriate, there is no urgency, and thus, any such discovery should not proceed on an
15   expedited basis.
16   I.      Plaintiffs’ Substantive Claims Fail, and thus Discovery Would Not Aid A Ruling on
             The Preliminary Injunction Motion
17
             The requisite good cause for discovery is wholly lacking here because discovery could not
18
     affect the resolution of Plaintiffs’ preliminary injunction motion, which must be denied regardless
19
     of whatever facts Plaintiffs might elicit through discovery. See Rovio Entm’t Ltd. v. Royal Plush
20
     Toys, Inc., 907 F. Supp. 2d 1086, 1099 (N.D. Cal. 2012) (discovery may not take place prior to a
21
     Rule 26(f) conference absent good cause). As we explained in our supplemental brief, ECF No.
22
     95 at 1–2, the Ninth Circuit’s decision staying this Court’s June 12 Order logically forecloses
23
     Plaintiffs’ Posse Comitatus Act (“PCA”) claim as a matter of law: the Ninth Circuit held that the
24
     President “likely acted within his authority in federalizing the National Guard under 10 U.S.C.
25
26
             1Defendants previously objected to the tardiness of Plaintiffs’ request for discovery
27
     because it was raised for the first time in their supplemental brief. ECF No. 97. Defendants
28   incorporate that argument fully here and will not belabor it, given the Court’s order that Defendants
     respond to the discovery request.

     Defendants’ Response to Order Directing Filing
     3:25-cv-04870-CRB
                                                      2
            Case 3:25-cv-04870-CRB             Document 99       Filed 06/25/25      Page 4 of 11




 1   § 12406(3),” Newsom et al. v. Trump et al., --- F.4th ----, 2025 WL 1712930, at *12 (9th Cir.
 2   2025). Section 12406(3) allows the President to federalize the Guard where he “is unable with the
 3   regular forces to execute the laws of the United States,” 10 U.S.C. § 12406(3) (emphasis added),
 4   and the statute further authorizes “the President to federalize Guardsmen “in such numbers as he
 5   considers necessary to . . . execute those laws,” id. § 12406 (emphasis added).
 6           To be clear, and as Defendants have explained, the Marines and federalized Guard are not
 7   enforcing the law; they are merely providing protection for federal officials and federal property.
 8   See ECF No. 95 at 1–2. But any facts concerning this question are ultimately immaterial given
 9   that Section 12406(3) is an express statutory authorization for purposes of the PCA, and the Ninth
10   Circuit has already held that the President likely acted within his authority in invoking that Section.
11   And in any event, the Plaintiffs (a State and its Governor) have no cause of action to enforce the
12   PCA, see ECF No. 84 at 23, which is a criminal statute that protects the public as a whole and
13   contains no express cause of action. That conclusion is reinforced by a decision from the Supreme
14   Court just last week. See NRC v. Texas, No. 23-1300, slip op. at 14 (U.S. June 18, 2025) (holding
15   that courts historically “recognized a right to equitable relief” only where allegedly “ultra vires”
16   action was “in violation of the rights of the individual”).
17           As for discovery into the scope and duration of the federalization of the National Guard
18   under Section 12406, not only is the challenge to that issue itself forfeited, ECF No. 95 at 3, but
19   Plaintiffs have never identified any legal authority possibly supporting such a challenge. Nothing
20   about Garrison limits the President’s Commander in Chief power or his inherent authority to
21   protect federal law enforcement officers from attacks. Even if such authority existed, no discovery
22   would answer where and for how long the mission must continue. See Pls.’ Supp. Br. at 9
23   (requesting discovery into “where, how, and for how long [the National Guard] may be deployed”).
24   As Defendants have explained, the statute permits the President to federalize Guardsmen “in such
25   numbers as he considers necessary to repel the invasion, suppress the rebellion, or execute those
26   laws.” 10 U.S.C. § 12406. The 60-day timeframe set by the Secretary of Defense has not yet
27   elapsed and the Secretary has not yet determined whether the evolving situation on the ground
28   would require the deadline to be shortened or extended. Discovery into such discretionary issues,


     Defendants’ Response to Order Directing Filing
     3:25-cv-04870-CRB
                                                       3
            Case 3:25-cv-04870-CRB             Document 99      Filed 06/25/25      Page 5 of 11




 1   including any unknown future determination, would be inappropriate and inconsistent with the
 2   “especially deferential” framework that the Ninth Circuit found applicable to the President’s
 3   decision to invoke Section 12406 in the first place. Newsom v. Trump, 2025 WL 1712930, at *7.
 4   II.     Plaintiffs’ Request for Discovery is Untimely
 5           Plaintiffs’ request for discovery also comes far too late. The Court ordered the parties to
 6   brief a preliminary injunction motion on the schedule that Plaintiffs preferred, and that briefing
 7   has now closed. At no point before or during that briefing did Plaintiffs argue they needed
 8   expedited discovery to present their arguments. In essence then, Plaintiffs’ request for discovery
 9   is a concession that, once briefing concluded, they lacked a basis for a preliminary injunction on
10   these issues. Under such circumstances, discovery must proceed in the ordinary course. Both the
11   Federal Rules of Civil Procedure and the Local Rules of this Court provide that, absent unusual
12   circumstances, discovery should not proceed before the parties have conferred as required by
13   Federal Rule of Civil Procedure 26(f). Specifically, this Court’s Local Rules mandate that
14   “[e]xcept in categories of proceedings exempted from initial disclosure . . . or when authorized
15   under these rules or by order or agreement of the parties, a party may not seek discovery from any
16   sources before the parties have conferred as required by Fed. R. Civ. P. 26(f).” Local Civ. R.
17   26.2(a). Here, of course, no Rule 26(f) conference has taken place; indeed, Defendants’ response
18   to the Complaint is not even due until August 11. And as already discussed above, there is no
19   good cause for discovery now.
20   III.    Plaintiffs Fail to Demonstrate Good Cause for their Discovery Requests Which are
             Overbroad and Impermissibly Burdensome
21
             Plaintiffs have failed to carry their burden to demonstrate how their proposal for discovery
22
     satisfies the factors courts use to assess reasonableness and good cause. That typically requires the
23
     Court to consider: (1) whether a preliminary injunction is pending; (2) the breadth of the discovery
24
     request; (3) the purpose for requesting the expedited discovery; (4) the burden on the defendants
25
     to comply with the requests; and (5) how far in advance of the typical discovery process the request
26
     was made.” Rovio, 907 F. Supp. 2d at 1099; see also Palermo v. Underground Solutions, Inc.,
27
     2012 WL 2106228, at *3 (S.D. Cal. June 11, 2012) (denying request for expedited discovery
28


     Defendants’ Response to Order Directing Filing
     3:25-cv-04870-CRB
                                                      4
            Case 3:25-cv-04870-CRB             Document 99      Filed 06/25/25      Page 6 of 11




 1   because the discovery requests “are not narrowly tailored to obtain evidence relevant to Palermo’s
 2   motion for preliminary injunction”); see also Hum. Rts. Watch v. Drug Enf’t Admin., 2015 WL
 3   13648069, at *3 (C.D. Cal. July 10, 2015) (“A party’s expedited discovery requests should be
 4   narrowly tailored” so as to discover only the minimum amount of information needed to achieve
 5   its stated purpose.” (quotation marks omitted)); cf. Rovio, 907 F. Supp. 2d at 1100 (“Without a
 6   copy of the proposed discovery requests, the Court cannot determine whether the requests are
 7   narrowly tailored such that they would not present an undue burden on Defendants at this stage of
 8   the proceedings.”).
 9           But Plaintiffs have not provided Defendants or the Court with enough detail to apply this
10   test. If the Court is inclined to consider permitting discovery, at the very least, it should require
11   Plaintiffs to first explain: (1) the specific discovery they wish to seek; (2) why that discovery is
12   necessary to resolve their pending motion; (3) why that discovery is narrowly tailored to obtain
13   evidence necessary for disposition of the preliminary injunction motion; and (4) why they cannot
14   obtain the information through other means. A simple desire to salvage the inescapable conclusion
15   that the pending motion must be denied is not enough. And Defendants should be permitted a
16   reasonable opportunity to respond, including addressing whether any burden on Defendants is
17   proportionate to the need for the requested discovery. Without additional explanations from
18   Plaintiffs, and without allowing Defendants to respond to such explanations, including whether
19   the burden of discovery on Defendants is proportional to the need for such discovery, there is
20   simply no basis for the Court to find that Plaintiffs have satisfied the “good cause” standard.
21           Even without knowing the exact contours of Plaintiffs’ discovery requests, it is apparent
22   that Plaintiffs’ proposed discovery is grossly overbroad and burdensome. For example, that
23   discovery, including extensive written discovery and depositions, would substantially burden
24   national security officials tasked with coordinating and implementing the federal response to
25   violent attacks against law enforcement. Plaintiffs seek an extensive amount of information from
26   multiple different custodians, including discovery into the nature and extent of past and present
27   ICE operations, specifics about Marine and National Guard deployment, and depositions from
28   high-ranking officials at ICE and the Department of Defense. See Pls.’ Supp. Br. at 8–9. The


     Defendants’ Response to Order Directing Filing
     3:25-cv-04870-CRB
                                                      5
            Case 3:25-cv-04870-CRB             Document 99        Filed 06/25/25      Page 7 of 11




 1   planned depositions of a Major General and ICE Field Office Director are especially
 2   disproportionate, as those depositions would distract two senior national security officials from
 3   their work countering active threats to federal personnel and property.
 4           Plaintiffs also seek discovery of law enforcement sensitive information, such as “written
 5   reports or summaries of enforcement actions, and information related to ICE’s ability to carry out
 6   arrests and deportations.” Pls.’ Supp. Br. at 8. Likewise, Plaintiffs seek to have the National
 7   Guard to provide “internal reports, summaries, photos, or other such evidence related to the
 8   operations or practices,” Pls.’ Supp. Br. at 8, which implicates sensitive and privileged
 9   information, as they acknowledge. Such burdensome discovery is plainly out of proportion to the
10   needs of the case. See Am. LegalNet, Inc. v. Davis, 673 F. Supp. 2d 1063, 1067 (C.D. Cal. 2009)
11   (“in every case, the court has the discretion, in the interests of justice, to prevent excessive or
12   burdensome discovery”) (quoting Qwest Commc’ns Int’l, Inc., 213 F.R.D. at 419; Wachovia Sec.,
13   L.L.C., 571 F.Supp.2d at 1050). Indeed, the purpose of delaying discovery until after a motion to
14   dismiss is because causing “defendants . . . to expend significant resources in responding to
15   plaintiffs’ discovery requests [is] unjust” because if defendants’ motion to dismiss is later granted,
16   “defendants would have been forced to expend significant resources responding to discovery
17   requests in a case where plaintiffs did not have a viable cause of action.” Guttenberg v. Emery, 26
18   F. Supp. 3d 88, 99 (D.D.C. 2014). Here, the time for Defendants to answer the complaint has not
19   expired and the Ninth Circuit’s order indicates that Plaintiffs are not likely to succeed on the merits.
20   Under these circumstances, where the scales already tip against Plaintiffs, it is especially prudent
21   to protect Defendants from the burdens of unnecessary discovery.
22   IV.     There is no Urgency Warranting Expedited Discovery
23           Even if discovery were appropriate—and it is not—expedited discovery is unwarranted.
24   See Ahern Rentals Inc. v. Young, 2021 WL 6064206, at *1 (D. Nev. Dec. 22, 2021) (“Because
25   expedited discovery is not the norm, the movant must make a prima facie showing of the need for
26   that expedited discovery.”); accord Merrill Lynch, Pierce, Fenner & Smith v. O'Connor, 194
27   F.R.D. 618, 623 (N.D. Ill. May 19, 2000); Integrated Sports Media & Ent. PPV, LLC v. Livecast
28   365, 2022 WL 2103008, at *1 (C.D. Cal. Mar. 31, 2022); see also Magellan Group Inv., LLC v.


     Defendants’ Response to Order Directing Filing
     3:25-cv-04870-CRB
                                                        6
            Case 3:25-cv-04870-CRB             Document 99       Filed 06/25/25      Page 8 of 11




 1   First Indigenous Depository Co., LLC, 2005 WL 1629940, *2 (N.D. Cal. 2005) (denying without
 2   prejudice plaintiff’s request for expedited discovery when plaintiff “has not made any showing as
 3   to why it cannot wait to conduct the requested deposition through the normal course of discovery”).
 4   Here, there is no urgency justifying expedited discovery. This Court already recognized that the
 5   President’s Memorandum and DoD memoranda “do not direct the federalized National Guard
 6   members to undertake activities that would violate the [PCA].” TRO Op. at 28. Plaintiffs’
 7   speculation that the Guard is engaging in activities that violate the PCA is foreclosed by the Ninth
 8   Circuit’s decision but, even if it were not, any such allegation does not logically challenge the
 9   federalization of the National Guard itself. ECF No. 95 at 2 n.1. And as to Plaintiffs’ challenge
10   to the duration of the Order, Plaintiffs’ concerns about duration are entirely speculative when the
11   initial 60-day timeframe has not yet elapsed, and the actual duration is unknown at present. In
12   addition, the parties are briefing the appeal of this Court’s TRO order from July 22, to September
13   19, 2025, and the Ninth Circuit will again consider the parties’ arguments in that posture. Such
14   circumstances counsel against, not in favor of, proceeding to discovery because the legal issues—
15   and thus, any appropriate scope of discovery—may be further narrowed by the Ninth Circuit.
16   V.      If Discovery is Ordered, This Matter Should be Transferred to the Central District
             of California
17
             Finally, if the Court is inclined to order the discovery Plaintiffs have requested, it should
18
     transfer this matter to the Central District of California, where the relevant events occurred and the
19
     witnesses work. This case’s filing in San Francisco is plainly the product of forum shopping, and
20
     California cannot credibly claim otherwise. “Where forum-shopping is evident . . . courts should
21
     disregard plaintiff’s choice of forum.” Foster v. Nationwide Mut. Ins. Co., No. C 07-04928 SI,
22
     2007 WL 4410408, at *2 (N.D. Cal. Dec. 14, 2007) (citing Italian Colors Rest. v. Am. Express
23
     Co., No. C-03-3719, 2003 WL 22682482 *4 (N.D. Cal. Nov. 10, 2003); Royal Queentex Enters.
24
     v. Sara Lee Corp., No. C-99-04787, 2000 WL 246599 *3 (N.D. Cal. Mar. 1, 2000)). Nearly every
25
     fact relevant to this dispute occurred in the Central District of California, and the consequences of
26
     the final judgment entered in this case will be felt by those who live in that district. But Plaintiffs
27
     nonetheless chose to sue in San Francisco, which has emerged as a favorite forum for those
28


     Defendants’ Response to Order Directing Filing
     3:25-cv-04870-CRB
                                                       7
            Case 3:25-cv-04870-CRB             Document 99       Filed 06/25/25      Page 9 of 11




 1   challenging this administration’s policies.      Their gamesmanship at the expense of citizens
 2   impacted by the case and witnesses should not be permitted.
 3           “For the convenience of parties and witnesses, in the interest of justice, a district court may
 4   transfer any civil action to any other district or division where it might have been brought[.]” 28
 5   U.S.C. § 1404(a). In considering a Section 1404(a) transfer motion, the court’s initial step is to
 6   determine if the action subject to the motion to transfer “might have been brought” in the transferee
 7   district (that is, the district to which the moving party seeks to transfer the case). Hoffman v.
 8   Blaski, 363 U.S. 335, 343-44 (1960). Next, the court must consider “both private factors, which
 9   go to the convenience of the parties and witnesses, and public factors which go to the interests of
10   justice.” Smith v. Corizon Health, Inc., No. 16-cv-00517-WHA, 2016 WL 1275514, at *2 (N.D.
11   Cal. Apr. 1, 2016). The factors that a court may consider include: (1) the plaintiff’s choice of
12   forum; (2) the parties’ convenience; (3) the witnesses’ convenience; (4) ease of access to the
13   evidence; (5) familiarity of each forum with the applicable law; (6) the feasibility of consolidation
14   with other claims; (7) any local interest in the controversy; and (8) the relative court congestion
15   and time to trial in each forum. Sanchez Mora v. U.S. Customs & Border Prot., No. 3:24-CV-
16   02430-TLT, 2024 WL 5378335, at *7 (N.D. Cal. Nov. 4, 2024); see also Jones v. GNC
17   Franchising, 211 F.3d 495, 498-99 (9th Cir. 2000). “The degree to which courts defer to the
18   plaintiff’s chosen venue is substantially reduced where . . . the forum chosen lacks a significant
19   connection to the activities alleged in the complaint.” Fabus Corp. v. Asiana Exp. Corp., No. C-
20   00-3172 PJH, 2001 WL 253185, *1 (N.D. Cal. Mar. 5, 2001).
21           There is of course no dispute that venue is proper in the Central District of California,
22   where the relevant events have occurred and are occurring. See 28 U.S.C. § 1391(e). And
23   especially considering Plaintiffs’ forum shopping, the factors support transfer to the Central
24   District. The case arises out of facts that took place in Los Angeles and involves witnesses situated
25   there. Plaintiffs’ complaint mentions “Los Angeles” 28 times, the L.A. Sheriff’s Department 12
26   times, and the L.A. Police Department 12 times. Federalized members of the National Guard and
27   Marines were deployed to locations in the Central District—not the Northern District—to restore
28   order. Notably, one of the protest locations highlighted in Plaintiffs’ Complaint was the Roybal


     Defendants’ Response to Order Directing Filing
     3:25-cv-04870-CRB
                                                       8
           Case 3:25-cv-04870-CRB             Document 99           Filed 06/25/25      Page 10 of 11




 1   Federal Building and U.S. Courthouse, where Central District judges sit. Compl. ¶ 33. It would
 2   be difficult to imagine a more significant local connection to a District Court than violence just
 3   outside its courthouse.
 4           If, as Plaintiffs suggest, this case will require discovery, the Central District is the
 5   appropriate venue for that. The witnesses that Plaintiffs wish to depose are tending to critical
 6   matters of national security in Los Angeles. And most of Plaintiffs’ witnesses appear to be in Los
 7   Angeles too. Plaintiffs have submitted declarations from at least four witnesses who signed their
 8   declarations there. See ECF Nos. 77-3, 77-4, 87-4, 87-5. On the other side of the ledger, Plaintiffs
 9   claim San Francisco is the appropriate forum for this case because it is convenient for them and
10   their attorneys. According to the Complaint’s venue allegations, “the California Attorney General
11   and the State of California have offices at 455 Golden Gate Avenue, San Francisco, California and
12   at 1515 Clay Street, Oakland, California.” Compl. ¶ 13. That weak connection to this district
13   court does not override the Central District’s much stronger ties to this dispute—especially where
14   the same facts are equally true for the Central District. The State of California has asserted that it
15   is a “resident” of the Central District. See McAleenan, No. 2:19-cv-07390 (C.D. Cal. Aug. 26,
16   2019), ECF No. 1 ¶ 11. And the California Attorney General has an office in Los Angeles. Mailing
17   Addresses     and    Office     Locations,       Office   of    the   California    Attorney   General,
18   https://oag.ca.gov/contact/mailing-addresses. If the Court concludes discovery may be warranted
19   in this case, it should transfer the case to the judicial district that will be most convenient for
20   witnesses, the parties, and the citizens affected by the outcome of this dispute. Plaintiffs’
21   transparent desire to forum shop does not trump those interests.
22                                              CONCLUSION
23           In sum, the Court should deny the motion for a preliminary injunction without allowing
24   any discovery, since that is the result dictated by the logic of the Ninth Circuit’s decision staying
25   this Court’s June 12 Order. If the Court is inclined to entertain the request for discovery, it should
26   defer any ruling on whether to allow discovery and the scope of any discovery pending further
27   briefing on whether Plaintiffs have satisfied the “good cause” standard. At a minimum, expedition
28


     Defendants’ Response to Order Directing Filing
     3:25-cv-04870-CRB
                                                          9
           Case 3:25-cv-04870-CRB             Document 99     Filed 06/25/25      Page 11 of 11




 1   is unwarranted, and if any discovery is to take place, the case should be transferred to the Central
 2   District of California.
 3
     Dated: June 25, 2025                                  Respectfully submitted,
 4
 5                                                         BRETT A. SHUMATE
                                                           Assistant Attorney General
 6                                                         Civil Division
 7
                                                           ERIC J. HAMILTON
 8                                                         Deputy Assistant Attorney General
                                                           Federal Programs Branch
 9                                                         (CA Bar No. 296283)
10
                                                           ALEXANDER K. HAAS
11                                                         (CA Bar No. 220932)
                                                           Director, Federal Programs Branch
12
13                                                         JEAN LIN
                                                           (NY Bar No. 4074530)
14                                                         Special Litigation Counsel
                                                           Federal Programs Branch
15
16
                                                           /s/ Garry D. Hartlieb
17
                                                           CHRISTOPHER EDELMAN
18                                                         (DC Bar No. 1033486)
                                                           Senior Counsel
19                                                         GARRY D. HARTLIEB
                                                           (IL Bar No. 6322571)
20
                                                           BENJAMIN S. KURLAND
21                                                         (DC Bar No. 1617521)
                                                           Trial Attorneys
22                                                         U.S. Department of Justice
23                                                         Civil Division, Federal Programs Branch
                                                           1100 L Street, N.W.
24                                                         Washington, DC 20005
                                                           Tel.: 202-305-0568
25                                                         Email: garry.hartlieb2@usdoj.gov
26
                                                           Attorneys for Defendants
27
28


     Defendants’ Response to Order Directing Filing
     3:25-cv-04870-CRB
                                                      10
